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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10
                                                      Case No. 5:20-cv-00594 KES
11   SUEELLEN S.,
12                Plaintiff,
13          v.                                                JUDGMENT
14   KILOLO KIJAKAZI, Acting
     Commissioner of Social Security,
15
                  Defendant.
16
17
18         IT IS HEREBY ADJUDGED that, for the reasons set forth in the
19   Memorandum Opinion and Order, the decision of the Commissioner of the Social
20   Security Administration is affirmed and this action is dismissed with prejudice.
21
22   DATED: October 6, 2021
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24                                         ____________________________________
                                           KAREN E. SCOTT
25                                         United States Magistrate Judge
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